Case:
 Case:2:18-cv-00692-MHW-EPD
       2:18-cv-00692-MHW-EPDDoc
                             Doc#:#:193-2
                                     179 Filed:
                                          Filed:05/28/21
                                                 09/15/21Page:
                                                          Page:11ofof55 PAGEID
                                                                         PAGEID#:#:1329
                                                                                    1422


                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



      BRIAN GARRETT, ET AL,     )
                                )
        PLAINTIFFS,             )              CASE NO. 2:18-cv-692
                                )
                vs.             )
                                )
      THE OHIO STATE UNIVERSITY,)
                                )
        DEFENDANT.              )
      __________________________)


      STEVE SNYDER-HILL, ET AL, )
                                )
        PLAINTIFFS,             )              CASE NO. 2:18-cv-736
                                )
                vs.             )
                                )
      THE OHIO STATE UNIVERSITY,)
                                )
        DEFENDANT.              )
      __________________________)


      NICHOLAS NUTTER, ET AL,   )
                                )
        PLAINTIFFS,             )              CASE NO. 2:19-cv-2462
                                )
                vs.             )
                                )
      THE OHIO STATE UNIVERSITY,)
                                )
        DEFENDANT.              )
      __________________________)
Case:
 Case:2:18-cv-00692-MHW-EPD
       2:18-cv-00692-MHW-EPDDoc
                             Doc#:#:193-2
                                     179 Filed:
                                          Filed:05/28/21
                                                 09/15/21Page:
                                                          Page:22ofof55 PAGEID
                                                                         PAGEID#:#:1330
                                                                                    1423




      ROCKY RATLIFF,            )
                                )
        PLAINTIFF,              )             CASE NO. 2:19-cv-4746
                                )
                vs.             )
                                )
      THE OHIO STATE UNIVERSITY,)
                                )
        DEFENDANT.              )
      __________________________)


      JOHN DOES 151-166, ET AL, )
                                )
        PLAINTIFFS,             )              CASE NO. 2:20-cv-3817
                                )
                vs.             )
                                )
      THE OHIO STATE UNIVERSITY,)
                                )
        DEFENDANT.              )
      __________________________)


            TRANSCRIPT OF TELEPHONIC STATUS CONFERENCE PROCEEDINGS
                    BEFORE THE HONORABLE MICHAEL H. WATSON
                       THURSDAY, MAY 13, 2021; 11:00 A.M.
                                 COLUMBUS, OHIO

          NO APPEARANCES ENTERED.
                                            - - -

           Proceedings recorded by mechanical stenography, transcript
       produced by computer.

                               LAHANA DUFOUR, RMR, CRR
                           FEDERAL OFFICIAL COURT REPORTER
                           85 MARCONI BOULEVARD, ROOM 121
                                 COLUMBUS, OHIO 43215
                                     614-719-3286
Case:
 Case:2:18-cv-00692-MHW-EPD
       2:18-cv-00692-MHW-EPDDoc
                             Doc#:#:193-2
                                     179 Filed:
                                          Filed:05/28/21
                                                 09/15/21Page:
                                                          Page:33ofof55 PAGEID
                                                                         PAGEID#:#:1331
                                                                                    1424

                                                                                3
  1                                           Thursday Morning Session

  2                                           May 13, 2021

  3                                         - - -

  4                THE COURT:     Good morning, everyone.          This is

  5    Judge Watson.       I have my court reporter with me.            If you'd like

  6    to speak, please state your name and who you represent before

  7    you speak.

  8             The purpose of the call is to follow up Ohio State's

  9    notice of intent to establish and now I believe they have

10     established an individual settlement program as per their

11     filing docket number 150 in the 736 case filed May 3rd of 2021.

12     After the notice was filed, some of the plaintiffs filed a

13     response.     I reviewed both.

14              Don't use the Court's docket for PR purposes.                Both

15     sides have been guilty of it from one time or another.                  I don't

16     want to detract from the importance of the settlement program

17     that Ohio State has set up.           I think it's a good thing.

18              My understanding is it runs for 120 days.               So if it

19     began last Friday on May the 7th, then I would suggest that it

20     probably ends on September 7th.

21              The Court will be issuing its ruling on the pending

22     motions to dismiss no later than the end of September of 2021.

23     I understand that some of the plaintiffs would have preferred

24     an earlier decision on those motions but it's been my goal from

25     the outset to try to resolve as many of these claims as
Case:
 Case:2:18-cv-00692-MHW-EPD
       2:18-cv-00692-MHW-EPDDoc
                             Doc#:#:193-2
                                     179 Filed:
                                          Filed:05/28/21
                                                 09/15/21Page:
                                                          Page:44ofof55 PAGEID
                                                                         PAGEID#:#:1332
                                                                                    1425

                                                                         4
  1    possible through settlement.           Any Plaintiff wishing to settle

  2    before that decision is issued should keep the end of September

  3    in mind and be guided accordingly.

  4             At this point, I don't see any need for oral argument on

  5    the pending motions to dismiss.            If that should change for any

  6    reason, I'll let you know.

  7             Is there anything else on behalf of counsel for the

  8    plaintiffs or for the defense?           Hearing none, I believe that

  9    will be all and I appreciate your attention to these matters

10     and I encourage settlement early and often, folks.                 That will

11     be all.     Thanks.

12          (Proceedings concluded at 11:05 a.m.)

13                                          - - -

14

15

16

17

18

19

20

21

22

23

24

25
Case:
 Case:2:18-cv-00692-MHW-EPD
       2:18-cv-00692-MHW-EPDDoc
                             Doc#:#:193-2
                                     179 Filed:
                                          Filed:05/28/21
                                                 09/15/21Page:
                                                          Page:55ofof55 PAGEID
                                                                         PAGEID#:#:1333
                                                                                    1426

                                                                                5
  1                               C E R T I F I C A T E

  2

  3                I, Lahana DuFour, do hereby certify that the foregoing

  4    is a true and correct transcript of the proceedings before the

  5    Honorable Michael H. Watson, Judge, in the United States

  6    District Court, Southern District of Ohio, Eastern Division, on

  7    the date indicated, reported by me in shorthand and transcribed

  8    by me or under my supervision.

  9

10

11                                     s/Lahana DuFour
                                       Lahana DuFour, RMR, CRR
12                                     Official Federal Court Reporter
                                       May 28, 2021
13

14

15

16

17

18

19

20

21

22

23

24

25
